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                              No. 22-56090

           IN THE UNITED STATES COURT OF APPEALS
                   FOR THE NINTH CIRCUIT


JUNIOR SPORTS MAGAZINES, INC., ET
AL.,
                       Plaintiffs-Appellants,

      v.

ROB BONTA, ET AL.,
                      Defendants-Appellees.

            On Appeal from the United States District Court
                 for the Central District of California

                     No. 2:22-cv-04663-CAS-JCx
                    Hon. Christina A. Snyder, Judge

     DEFENDANT-APPELLEE’S OPPOSITION TO MOTION FOR
              INJUNCTION PENDING APPEAL
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       DEFENDANT-APPELLEE’S OPPOSITION TO MOTION FOR
                INJUNCTION PENDING APPEAL

      Defendant-Appellee Attorney General Rob Bonta respectfully submits this

opposition to Plaintiffs-Appellants’ Motion for Injunction Pending Appeal, Dkt.

44.

      California Business & Professions Code section 22949.80 is a duly-enacted

California statute that became effective over fifteen months ago. Plaintiffs-

Appellants sought a preliminary injunction in the district court, but at no time

sought a temporary restraining order. After the district court denied Plaintiffs-

Appellants’ motion, Plaintiffs-Appellants waited nearly one month before filing

this appeal, which they did not seek to expedite. For the past ten months,

proceedings in the district court have been stayed pursuant to Plaintiffs-Appellants’

stipulation.

      Three weeks ago, Plaintiffs-Appellants prevailed before a three-judge panel

of this Court. Junior Sports Magazines Inc. v. Bonta, -- F.4th ---, No. 22-56090,

2023 WL 5945879, at *8 (9th Cir. Sept. 13, 2023). The panel reversed the district

court’s denial of a preliminary injunction and remanded for further proceedings

consistent with its opinion. Defendant-Appellee then requested a modest 45-day

extension of time, as authorized by this Court’s rules, to evaluate whether to seek




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rehearing en banc and, if appropriate, to file a petition for rehearing.1 A week after

the panel granted the requested extension, Plaintiffs-Appellants filed this request

for the extraordinary remedy of an immediate and urgent injunction pending the

final resolution of this appeal.

     Plaintiffs-Appellants have not shown why the Court should disrupt the status

quo at this stage. Section 22949.80 has remained an enforceable California statute

throughout the pendency of this litigation thus far. The balance of the equities and

the public interest do not support Plaintiffs-Appellants’ abrupt demand for a

reversal of the status quo. And Plaintiffs-Appellants have not established that they

will suffer irreparable harm in the short period while the State is deciding whether

to seek en banc relief and the potential period thereafter for the Court to consider

and resolve such a petition. Plaintiffs-Appellants’ motion for an injunction

pending appeal should be denied.

                            STANDARD FOR RELIEF
     As the Supreme Court explained in Winter v. Natural Resources Defense

Council, Inc., “[a] preliminary injunction is an extraordinary remedy never

awarded as of right. . . . In each case, courts must balance the competing claims of



      1
        See Circuit Rule 31-2.2 (Extensions of Time for Filing Briefs); see also
Fed. R. App. Proc. 40(a)(1) (specifying 14-day deadline to file rehearing petition,
which may be extended by court order, and 45-day deadline that automatically
applies if one of the parties is the United States or a federal entity).

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injury and must consider the effect on each party of the granting or withholding of

the requested relief.” 555 U.S. 7, 24 (2008) (internal quotation omitted).

     This Court has held that the “standard for evaluating an injunction pending

appeal is similar to that employed by district courts in deciding whether to grant a

preliminary injunction.” Feldman v. Arizona Sec'y of State's Off., 843 F.3d 366,

367 (9th Cir. 2016). For such a motion, the Court therefore considers, at

minimum, “whether the moving party has demonstrated that they are likely to

succeed on the merits, that they are likely to suffer irreparable harm in the absence

of preliminary relief, that the balance of equities tips in their favor, and that an

injunction is in the public interest.” S. Bay United Pentecostal Church v. Newsom,

959 F.3d 938, 939 (9th Cir. 2020) (citing Winter, 555 U.S. at 20).

     An injunction pending appeal, however, unlike a stay of a court’s decision,

“does not simply suspend judicial alteration of the status quo but grants judicial

intervention that has been withheld by lower courts.” Respect Maine PAC v.

McKee, 562 U.S. 996, 996 (2010) (quoting Ohio Citizens for Responsible Energy,

Inc. v. NRC, 479 U.S. 1312, 1313 (1986) (Scalia, J., in chambers)). The Supreme

Court has therefore held that a request for injunction pending appeal “demands a

significantly higher justification than a request for a stay.” Respect Maine PAC,

562 U.S. at 996 (internal quotation marks omitted); accord South Bay United

Pentecostal Church v. Newsom, 140 S. Ct. 1613, 1613 (2020) (Roberts, C.J.,



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concurring); see also Agudath Israel of America v. Cuomo, 980 F.3d 222, 226 (2d

Cir. 2020) (applying Respect Maine PAC’s heightened standard to motion for

injunction pending appeal in Free Exercise Clause challenge).

                                    ARGUMENT

I.   THE BALANCE OF EQUITIES AND PUBLIC INTEREST WEIGH AGAINST
     AN IMMEDIATE INJUNCTION

     An injunction against enforcement of section 22949.80 is not in the State’s or

the public’s interest. The California Legislature, in its considered judgment,

enacted the statute to protect its citizens from shootings involving minors and to

advance its laws related to the minor’s possession and purchase of firearms. See

Assem. Bill No. 2571 (2021–2022 Reg. Sess.), § 1; cf. United States v. Idaho, --

F.4th ---, 2023 WL 6308107, at *5 (9th Cir. Sept. 28, 2023) (“‘[A]ny time a State

is enjoined by a court from effectuating statutes enacted by representatives of its

people, it suffers a form of irreparable injury’”) (alterations in original). The

public interest therefore does not favor any injunction against the statute’s

enforcement, particularly in advance of the final resolution of this appeal, which

may involve further appellate proceedings.

     The public interest and the equities also counsel against an injunction pending

appeal because the parties should have the opportunity to litigate in the district

court the appropriate and precise scope of any preliminary injunction. See City &

Cnty. of San Francisco v. Barr, 965 F.3d 753, 765 (9th Cir. 2020) (“We have long


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held that an injunction should be no more burdensome to the defendant than

necessary to provide complete relief to the plaintiffs before the court” (internal

quotation omitted)). The appellate panel’s decision, which remands the case to the

district court for further proceedings and does not immediately issue a preliminary

injunction, will allow the parties to address the practical details of appropriate

relief below. Junior Sports Magazines Inc. v. Bonta, -- F.4th ---, No. 22-56090,

2023 WL 5945879, at *8 (9th Cir. Sept. 13, 2023). Plaintiffs-Appellants have not

yet established, for example, whether all enforcement of section 22949.80 should

be preliminarily enjoined, or whether there are some persons or applications for

which the statute is properly enforceable pending a final decision on the merits.2

Nor have Plaintiffs-Appellants established which persons may be properly

enjoined (see, e.g., Cal. Bus. & Prof. Code § 22949.80(e)(1) (identifying various

public officials, in addition to the Attorney General, who may enforce statute)).

II.   PLAINTIFFS WILL NOT SUFFER IRREPARABLE HARM IN THE ABSENCE
      OF AN IMMEDIATE INJUNCTION PENDING APPEAL

      Plaintiffs-Appellants assert that an immediate injunction against enforcement

of section 22949.80 pending appeal is urgent, and that absent one they will suffer

irreparable harm during the pendency of any further appellate proceedings. Dkt.



       2
        It is also unclear whether Plaintiff-Appellants’ motion asks the Court to
temporarily enjoin enforcement of section 22949.80 against only Plaintiffs, or
others as well.

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44 at 1, 4-7. Plaintiffs-Appellants’ request was apparently prompted by the

Court’s September 22 order granting the State’s motion to extend the time to file a

potential rehearing petition by 45 days. Dkt. 44 at 6. But Plaintiffs-Appellants’

conduct throughout this litigation has reflected that the need for injunctive relief is

not so urgent that it must bypass the ordinary timeline to obtain a final judgment—

and the 45 additional days for the State to decide whether to file a rehearing

petition and, if necessary, file such a petition, are not material to that timeline.

     For months, Plaintiffs-Appellants have accepted the status quo during the

pendency of litigation. Section 22949.80 was initially enacted on June 30, 2022.

Plaintiffs-Appellants filed suit on July 8, 2022, but did not seek a temporary

restraining order. After the district court declined to grant a preliminary injunction

on October 24, 2022, Plaintiffs-Appellants waited nearly one month, until

November 21, 2022, before filing their appeal. ECF No. 37, Junior Sports

Magazines v. Bonta, No. 2:22-cv-04663-CAS-JCx (C.D. Cal. Nov. 21, 2022).

Plaintiffs-Appellants simultaneously stipulated with Attorney General Bonta to

stay all pre-trial proceedings, including discovery, in the district court. ECF No.

38, Junior Sports Magazines, (Nov. 21, 2022). In the stipulation, Plaintiffs-

Appellants agreed that “neither party will be harmed by the issuance of a stay—

instead, granting a stay will benefit both parties.” Id. at 1 (emphasis in original)

(internal quotation omitted).


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     Plaintiffs-Appellants waited more than eleven months after the district court

decision (and more than two weeks after the panel’s decision on the merits), until

September 29, 2023, before asking this Court for the extraordinary remedy of

immediate injunctive relief. Dkt. No. 44. During that period, Plaintiffs-Appellants

did not seek to expedite the briefing or hearing schedule in this appeal. See Circuit

Rule 27-12. And, during briefing and oral argument, Plaintiffs-Appellants did not

request a disposition that would include an immediate injunction, nor did they

provide the panel with the information necessary to precisely define the scope of

such an injunction. All of these decisions were consistent with a recognition that

any equitable relief could await the final resolution of appellate proceedings

concerning Plaintiffs’ motion for preliminary injunction.

     Finally, Plaintiffs-Appellants assert only one new argument supporting

immediate relief that was not previously presented to the appellate panel, and that

argument should carry no weight. They argue that an injunction pending appeal

should issue to prevent “every form of public or private enforcement” of section

22949.80, pointing to the statute’s provisions conferring causes of action on certain

public officials and private individuals. Dkt. 44 at 3-4; see also Cal. Bus. & Prof.

Code § 22949.80(e)(3). However, Attorney General Bonta is the only named

Defendant in this action. And an injunction binds only the parties to the action,

their “officers, agents, servants, employees, and attorneys,” and those persons in


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active concert or participation with them who receive actual notice of the

injunction. Fed. R. Civ. Proc. 65(d)(2); Zepeda v. U.S. I.N.S., 753 F.2d 719, 727

(9th Cir. 1983). Plaintiffs-Appellants therefore are not entitled to an injunction

against any official or private individual that does not meet this definition, much

less all such persons.

     The balance of interests and asserted harm do not justify granting Plaintiffs-

Appellants’ motion for injunction pending appeal. The Court should therefore

deny the motion.



Dated: October 4, 2023             Respectfully submitted,

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